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UNITEB STATES DISTRICT COURT
SOUTHERN I)ISTRICT OF NEW YORK

UNITED STATES OF AMERICA et al.
ex rel. RAHIMI and SCHULTE,

Plaintiffs,

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15 civ. 5686 {PAC)

j sTIPULATIoN AND onnER on
' sETTLnMENT ANI) RELEASE
"r BETWEEN TH:E UNITED
wALGRBENs noors ALLIANCE, n\ro., STATES AND RELATOR

Defendant.

 

WPiEREAS, this Stipulation and Order of Settiement and Release (the “Relator
Stipulation”) is entered into between the United States of Amerioa (the “United States”), by its
attorney Geoffrey S. Berrnan, United States Attorney for the Southern Distriet ofNew York, and
relators Adam (a/i'c/a Azam) Rahimi and S. Christopher Schulte (the “Relators” and, together
with the United States, the “Parties”), through their oounsel;

WHEREAS, on or about July 21, 2015, Relators filed a complaint in the above-captioned
action in the United States Distriot Court for the Southern District of New York (the “Court”)
under the qui ram provisions of the False Claims Act, as amended, 3i U.S.C. § 3729 et seq. (the
“FCA’°), alleging, inter alia, that Walgreens engaged in a pattern of submitting false claims to
Medieare, Medicaid, and TRICARE, as Well as the Workers’ compensation program for Postal

Sci'vice employees managed by the U.S. Department of Labor (oollectively, the “reievant federal
healthcare programs”), Which sought payments for more insulin pens than patients needed in the
time periods specified in the claims (the “Relator Action”);
WHEREAS, on or about Januaiy ll, 2019, the United States filed a complaint-in-

intervention (“Governrnent Complaint”), asserting claims against Walgreens Boots Alliance, Inc.

 

 

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(“Walgreens” or “Defendant”) pursuant to the FCA and in relation to the relevant federal
healthcare programs for obtaining reimbursement for insulin pen prescriptions based on false
claims that under-reported the days of supply (z`.e., the number of days that insulin pens should
last if the patient used insulin strictly according to the prescriber’s directions for use) (the
“Covered Conduct”);

WHEREAS, on or about January ll, 2019, the United States, Defendant, and Relators
entered into a Stipulation of Settlernent and Dismissal (the “Settlement Agreernent”);

WHEREAS, pursuant to Paragraph 3 of the Settlernent Agreernent, Defendant agreed to
pay the United States the sum of $168,035,813.56, plus interest, tc be compounded annually at
the rate of 2.87% starting from November 20, 2018, to the date of payment (the “Settlernent
Amount”) to resolve the claims of the United States for the Covered Conduct;

WHEREAS, Defendant has paid the Settlement Arnount, With applicable interest, to the
United States;

WEREAS, the Rclators have asserted that, pursuant to 3l U.S.C. § 3730(d)(l), they are
entitled to receive a portion of the Settlernent Amount (the “Relator Share Claim”); and

`WHEREA.S, the Parties mutually desire to reach a full and final compromise of the
Re_lator Share Claim pursuant to the terms set forth below.

NOW, THEREFORE, in reliance on the representations contained herein and in
consideration of the mutual promises, covenants, and obligations in this Reiator Stipulation, and
for good and valuable consideration, receipt of Which is hereby acknowledged the Parties agree
as follows:

i. The Unitcd States Will pay Relators, cfc SHELLEY R. SLADE, as attorney for

Relators (“Relators’ Counsel”), thirty-two million and three hundred and forty thousand dollars

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($32,340,000.00) in accordance with written instructions provided by Relators’ Counsel.

2. Relators, for themselves and their heirs, successors, attorneys, agents_, and assigns,
agree that this settlement is fair, adequate, and reasonable under ali circumstances, and will not
challenge the Settlement Agreement, including but not limited to the Settlement Amount,
pursuant to 31 U.S.C. § 3730(c)(2)(B) or other applicable law, and expressly waive the
opportunity for a hearing on any such objection, pursuant to 31 U.S.C. § 3730(c)(2)(B) or other
applicable law.

3. In agreeing to accept payment of the Relators’ share set forth in Paragraph l above,
and upon payment thereof, Relators, for themselves and their heirs, successors, attorneys, agent
and assigns, release and are deemed to have released and forever discharged the United States
and its agencies, officers, employees, servants, and agents from any claim for a share of any
proceeds of the Settlement Agreernent pursuant to 31 U.S.C. § 3730 or other applicable law, and
from any and all claims against the United States and its agencies, ofticers, employees, scrvants,
and agents arising from or relating to the Settlement Agreement or any claim in the Relator
_ Action or the Government Cornpiaint.

4. 'l`his Relator Stipulation does not resolve or in any manner affect any claims the
United Statcs has or may have against Relators arising under Titie 26, U.S. Code (Internal
Revenue Codc), or any claims that the Parties may have arising under this Reiator Stipulation.

5. The United States and Relators agree that if the Settlement Agreement is held by a
court not to be “fair, adequate, and rcasonable,” as required under 31 U.S.C. § 3730(c)(2)(B),
this Relator Stipulation is nuli and void.

6 . This Relator Stipulation shall inure to the benefit of and be binding only on the

Partics, and their successors, assigns, and heirs.

 

 

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7. This Relator Stipulation shall become iinal, binding, and effective only upon entry
by the Court.

8. This Relator Stipulation constitutes the entire agreement of the Parties with respect
to the subject matter of this Relator Stipuiation and may not be changed, altered, or modified,
except by a written agreement signed by the Parties specifically referring to this Relator
Stipulation.

9. This Relator Stipuiation is governed by the laws of the United States. T he ‘
exclusive jurisdiction and venue for any dispute relating to this Relator Stipulation is the United
States District Court for the Southern District ofNew York. For purposes of construing this
Relator Stipulation, this Relator Stipulation shall be deemed to have been drafted by all Parties to
it and shall not, therefore, be construed against any Party for that reason in any subsequent
dispute.

lO. This Relator Stipulation may be executed in counterparts, each of which shall

constitute an original and all of which shall constitute one and the same agreementl

Daiea: March ji_ 2019 oaoransr s. BERMAN

New York, New Yorlr United St s Attorney

By: LI w
JESSICA JEAN HU
Assistant United States Attomeys
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NeW York, New Yori< 10007

Attorneysfor the United States

 

 

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Dared: March j_§, 2019
~ New Yorlr, New Ycrk

By:

By:

VOGEL SLADE dc CiOLDSTEIN LLP

   

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